‘Case No: 1:20-cv-02788-WJM-KLM Document 120 filed 01/25/23 USDC Colorado pg 1of2

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UNITED STATES DISTRICT
DENVER, COLORADO OURT

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THE UNITED STATES DISTRICT COURT = JEFFREY P. COLWELL
FOR THE DISTRICT OF COLORADO CLERK

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